17-08263-rdd        Doc 16      Filed 01/18/18       Entered 01/18/18 12:20:52              Main Document
                                                    Pg 1 of 7


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                      Chapter 11
THE GREAT ATLANTIC & PACIFIC TEA                            Case No. 15-23007 (RDD)
COMPANY, INC., et al.,1
                                                            (Jointly Administered)
                          Debtors.


THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS on behalf of the                        Adv. Pro. No. 17-08263 (RDD)
bankruptcy estate of THE GREAT
ATLANTIC & PACIFIC TEA COMPANY,
INC., et al.,

                          Plaintiff,

         v.


MANHATTAN BEER DISTRIBUTORS,
INC.,

                          Defendant.


       ANSWER OF DEFENDANT MANHATTAN BEER DISTRIBUTORS, INC.
    TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ COMPLAINT
       FOR AVOIDANCE AND RECOVERY OF PREFERENTIAL TRANSFERS

         Defendant Manhattan Beer Distributors, Inc. (the “Defendant”), by and through its

undersigned counsel, hereby answers the Complaint for Avoidance and Recovery of Preferential

Transfers Pursuant to 11 U.S.C. §§ 547 & 550 (the “Complaint”) filed by the Official



1
 The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: 2008 Broadway, Inc. (0986); The Great Atlantic & Pacific Tea Company. Inc. (0974); A&P
Live Better, LLC (0799); A&P Real Property, LLC (0973); APW Supermarket Corporation (7132); APW
Supermarkets, Inc. (9509); Borman's, Inc. (9761); Delaware County Dairies, Inc. (7090); Food Basics, Inc. (1210);
Kaik Save Inc. (3636); McLean Avenue Plaza Corp. (5227); Montvale Holdings. Inc. (6664); Montvale-Para
Holdings. Inc. (2947); Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge TLC (5965); Shopwell, Inc.
(0301): Super Fresh Food Markets, Inc. (2491); The Old Wine Emporium of Westport, Inc. (0724); Tradewell Foods
of Conn., Inc. (5718); and Waldbaum, Inc. (8599).




                                                        1
17-08263-rdd      Doc 16      Filed 01/18/18    Entered 01/18/18 12:20:52         Main Document
                                               Pg 2 of 7


Committee of Unsecured Creditors (the “Committee”) that was appointed in the Chapter 11

cases of the above-captioned Debtors (collectively, the “Debtors”).

                                       Nature of the Action

       1.      Defendant admits that the Committee filed the Complaint against the Defendant,

and asserts that the Committee’s assertions in the Complaint speak for themselves.

                                            The Parties

       2.      Defendant admits the allegations in the first sentence of Paragraph 2. Defendant

lacks knowledge or information sufficient to admit or deny the allegations set forth in the second

sentence of that paragraph.

       3.      Defendant admits that the Court entered an order that is docketed at ECF No.

2868. Defendant asserts that such order speaks for itself.

       4.      Defendant admits the allegations set forth in Paragraph 4.

                                      Jurisdiction and Venue

       5.      In response to Paragraph 5, Defendant denies the allegations, except admits that:

(a) the Court has jurisdiction over this adversary proceeding, (b) venue is proper in this District,

and (c) proceedings to determine, avoid or recover preferences are listed as “core proceedings”

in 28 U.S.C. § 157(b)(2). Defendant denies that the Bankruptcy Court has the authority to enter

final orders or judgments in this adversary proceeding, absent consent of the parties. In the event

it is determined that the Bankruptcy Court cannot enter final orders or judgments consistent with

Article III of the United States Constitution, Defendant does not consent to entry of final orders

or judgments by the Bankruptcy Court; provided that Defendant reserves the right to so consent

at a later time in this proceeding.




                                                  2
17-08263-rdd     Doc 16     Filed 01/18/18    Entered 01/18/18 12:20:52        Main Document
                                             Pg 3 of 7


       6.      Paragraph 6 consists of legal conclusions to which no response is required. To

the extent a response is required, Defendant asserts that the Bankruptcy Rules and the

Bankruptcy Code sections cited by the Committee speak for themselves.

                                        Case Background

       7.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations set forth in Paragraph 7, except admits that the Debtors commenced their Chapter 11

cases on July 19, 2015.

       8.      Defendant admits the allegations set forth in Paragraph 8.

                                               Facts

       9.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations set forth in Paragraph 9.

       10.     Defendant denies the allegations set forth in Paragraph 10, because The Great

Atlantic & Pacific Tea Company, Inc. did not make any payments during the preference period

to the entity that is named as the Defendant in this proceeding.

       11.     Defendant denies the allegations set forth in Paragraph 11, because The Great

Atlantic & Pacific Tea Company, Inc. did not make any payments during the preference period

to the entity that is named as the Defendant in this proceeding.

       12.     The first sentence of Paragraph 12 consists of legal conclusions to which no

response is required. To the extent a response is required, Defendant denies the allegations

therein. Defendant denies the allegations in the second sentence of Paragraph 12.




                                                 3
17-08263-rdd       Doc 16       Filed 01/18/18    Entered 01/18/18 12:20:52    Main Document
                                                 Pg 4 of 7


                                     First Claim for Relief
                     (Avoidance of Preferential Transfers – 11 U.S.C. § 547)

        13.     Defendant repeats the responses contained in the above paragraphs by reference,

as if fully set forth herein.

        14.     Defendant denies the allegations in Paragraph 14, because The Great Atlantic &

Pacific Tea Company, Inc. did not make any payments during the preference period to the entity

that is named as the Defendant in this proceeding.

        15.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations set forth in Paragraph 15.

        16.     Defendant denies the allegations in Paragraph 16.

        17.     Defendant denies the allegations in Paragraph 17.

        18.     Defendant denies the allegations in Paragraph 18.

        19.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations set forth in Paragraph 19.

        20.     Defendant denies the allegations in Paragraph 20.

        21.     Defendant admits that it has not returned any transfers to the Committee, but

denies that it is obligated to do so. Defendant denies any remaining allegations in Paragraph 21.

        22.     Defendant denies the allegations in Paragraph 22.

                                     Second Claim for Relief
                            (Recovery of Property – 11 U.S.C. § 550(a))

        23.     Defendant repeats the responses contained in the above paragraphs by reference,

as if fully set forth herein.




                                                   4
17-08263-rdd      Doc 16    Filed 01/18/18    Entered 01/18/18 12:20:52         Main Document
                                             Pg 5 of 7


       24.      Paragraph 24 consists of legal conclusions to which no response is required. To

the extent a response is required, Defendant asserts that the statutes cited by the Committee

speak for themselves.

       25.      Defendant denies the allegations in Paragraph 25, because The Great Atlantic &

Pacific Tea Company, Inc. did not make any payments to the entity that is named as the

Defendant in this proceeding during the preference period.

       26.      Defendant denies the allegations in Paragraph 26.

                                      GENERAL DENIAL

       Defendant denies all allegations in the Complaint that are not specifically admitted in this

Answer, including but not limited to all statements in the WHEREFORE clause following

Paragraph 26.

                                           DEFENSES

       Defendant asserts the following defenses, and reserves the right to supplement these

defenses in the future.

                                       FIRST DEFENSE

       The Complaint fails to state a claim upon which relief may be granted.

                                      SECOND DEFENSE

       The Committee cannot establish one or more elements of its avoidance claim under

Section 547(b) of the Bankruptcy Code, including Section 547(b)(5).

                                       THIRD DEFENSE

       To the extent the Committee is able to establish the elements of a preference cause of

action, any transfers Defendant may have received during the applicable preference period were

made to pay a debt incurred in the ordinary course of business or financial affairs of the Debtor




                                                 5
17-08263-rdd     Doc 16     Filed 01/18/18     Entered 01/18/18 12:20:52        Main Document
                                              Pg 6 of 7


and the transferee, and were (a) made in the ordinary course of business or financial affairs of the

Debtor and the transferee, or (b) made according to ordinary business terms.

                                      FOURTH DEFENSE

       To the extent the Committee is able to establish the elements of a preference cause of

action, any transfers Defendant may have received during the applicable preference period were

offset in whole or part by subsequent new value. The subsequent new value was to or for the

benefit of the Debtors, not secured by an otherwise unavoidable security interest, and the Debtors

did not make an otherwise unavoidable transfer to or for the benefit of Defendant or non-party

Manhattan Beer Distributors LLC on account of such new value.

                                       FIFTH DEFENSE

       The Debtors made no transfers to named Defendant Manhattan Beer Distributors, Inc.

during the preference period.

                                       SIXTH DEFENSE

       The Committee and/or the Debtors’ estates waived the right to bring a preference claim

against either Defendant or non-party Manhattan Beer Distributors LLC, a New York limited

liability company.

                                     SEVENTH DEFENSE

       The Committee and/or the Debtors’ estates are estopped from bringing a preference claim

against either Defendant or non-party Manhattan Beer Distributors LLC.

                                 RESERVATION OF RIGHTS

       Defendant reserves the right to assert other claims and/or defenses as may be available or

become available during the course of these proceedings. Defendant further reserves the right to




                                                 6
17-08263-rdd     Doc 16     Filed 01/18/18    Entered 01/18/18 12:20:52         Main Document
                                             Pg 7 of 7


plead further in this matter, including but not limited to amending this Answer, or asserting

counterclaims, cross-claims or third-party complaints.

       WHEREFORE, Defendant requests that judgment in this adversary proceeding be

entered in its favor and against the Committee. Defendant also requests an award of its costs in

this action to the extent permitted by law, including attorneys’ fees and expenses, and such other

and further relief as the Court may deem appropriate.

Dated: January 17, 2018


                                                     TANNENBAUM HELPERN SYRACUSE &
                                                     HIRSCHTRITT LLP

                                                     /s/ Michael J. Riela_________________
                                                     Michael J. Riela
                                                     900 Third Avenue
                                                     New York, New York 10022
                                                     Telephone: (212) 508-6700
                                                     Facsimile: (212) 371-1084
                                                     Email: Riela@thsh.com

                                                     Counsel for Manhattan Beer Distributors, Inc.




                                                 7
